   Case: 1:23-cv-01782 Document #: 1 Filed: 03/22/23 Page 1 of 4 PageID #:1




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS
                        EASTERN DIVISION

Vondell Wilbourn, individually             )
and for others similarly situated,         )
                                           )   No. 23-cv-____
                       Plaintiffs,         )
                                           )   (jury demand)
                    -vs-                   )
                                           )
Sheriff of Cook County and Cook            )
County, Illinois,                          )
                                           )
                       Defendants.         )
                                     COMPLAINT
         Plaintiff, by counsel, alleges as follows:

    1.        This is a civil action arising under 42 U.S.C. § 1983. The jurisdic-

tion of this Court is conferred by 28 U.S.C. § 1343.

    2.        Vondell Wilbourn is a resident of the Northern District of Illinois.

    3.        Plaintiff brings this case individually and for others similarly sit-

uated, as described in greater detail below.

    4.         Defendant Sheriff of Cook County is sued in his official capacity

for the denial of Fourth Amendment rights caused by an explicit policy and/or

widespread practice.

    5.        Defendant Cook County is joined in this action pursuant to Carver

v. Sheriff of LaSalle County, 324 F. 3d 947 (7th Cir. 2003).
   Case: 1:23-cv-01782 Document #: 1 Filed: 03/22/23 Page 2 of 4 PageID #:2




    6.     In 2019, plaintiff was charged with felony offenses in the Circuit

Court of Cook County.

    7.     Bond was set at plaintiff’s initial appearance at $10,000 cash de-

posit, subject to electronic monitoring.

    8.     Plaintiff posted bond on September 27, 2019 and was released

from the Cook County Jail, subject to various conditions of electronic moni-

toring.

    9.     After leaving the Jail, plaintiff returned to live with his wife and

their young children. Mrs. Wilbourn supports the family from her earnings;

plaintiff, who is disabled and unable to work, is responsible, inter alia, for

getting the minor children to and from school.

   10.     From time to time, the judge presiding over the criminal case

granted plaintiff permission to leave his home to take his young children to

and from school.

   11.     In March of 2023, an employee or employees of defendant Sheriff

of Cook County concluded that plaintiff had committed several deviations

from the conditions of electronic monitoring. The purported deviations, alone

or together, did not constitute a criminal offense.

   12.     Based on the determination of the employee or employees of de-

fendant Sheriff referred to in the previous paragraph, an employee or




                                      -2-
   Case: 1:23-cv-01782 Document #: 1 Filed: 03/22/23 Page 3 of 4 PageID #:3




employees of the Sheriff, without seeking judicial approval to deprive plain-

tiff of the conditional liberty inherent in release on electronic monitoring and

without probable cause to believe that plaintiff had committed an offense,

traveled to plaintiff’s home on March 3, 2023, placed him in handcuffs in front

of his young children, and took him from the family home to the Cook County

Jail where he was held as a pre-trial detainee.

   13.     The above-referred employee or employees of defendant Sheriff

acted pursuant to an express policy and/or in accordance with a widespread

practice of defendant Sheriff of Cook County.

   14.     This policy or widespread practice deprived plaintiff and others

similarly situated of rights secured by the Fourth and Fourteenth Amend-

ments to the Constitution of the United States.

   15.     Plaintiff remained in the Cook County Jail from March 3, 2023 un-

til the early morning hours of March 22, 2023.

   16.     At all times within the two years immediately preceding the filing

of this action, more than 1,500 persons charged with felony offenses in Cook

County, Illinois have been on bail subject to electronic monitoring.

   17.     Plaintiff believes that discovery will reveal that, within the two

years immediately preceding the filing of this lawsuit, employees of defend-

ant Sheriff have applied the express policies and/or widespread practice




                                      -3-
   Case: 1:23-cv-01782 Document #: 1 Filed: 03/22/23 Page 4 of 4 PageID #:4




described above to deprive more than 40 individuals of rights secured by the

Fourth and Fourteenth Amendments to the Constitution of the United

States.

   18.       Plaintiff brings this action individually and for those similarly sit-

uated who, within the two years preceding the filing of this action, have been

arrested solely for asserted deviations from the conditions of electronic mon-

itoring, without a warrant or other court order, and without probable cause

to believe that the arrestee has committed an offense.

   19.       Plaintiff hereby demands trial by jury.

         WHEREFORE plaintiff requests that the Court enter judgment in fa-

vor of plaintiff and those similarly situated for appropriate compensatory

damages and that the costs of this action, including fees and costs, be taxed

against defendants.

                                     /s/ Kenneth N. Flaxman
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                                        -4-
